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                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff
v.                                                          Case Number 8:99cr15-002

                                                            USM Number 15902-047

STEPHEN W. CHILDS
                         Defendant
                                                            MICHAEL F. MALONEY

                                                            Defendant’s Attorney
___________________________________

                                  JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard condition 8 and special condition 2 of the term of
supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                                     Date Violation
        Violation Number                     Nature of Violation                      Concluded


 2                                    Marijuana and                         May 31, 2006
                                      methamphetamine use

 4                                    Failing to abstain from alcohol       May 31, 2006
                                      use

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Allegations 1 and 3 are dismissed on the motion of the United States .

Following the imposition of sentence, the Court advised the defendant of his right to appeal pursuant to the
provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal
must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States attorney of any material change in the defendant’s economic circumstances.

                                                                              Date of Imposition of Sentence:
                                                                                               June 21, 2006

                                                                                         s/Joseph F. Bataillon
                                                                                  United States District Judge

                                                                                        June 26, 2006
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twelve (12) months and one (1) day months.

The Court makes the following recommendations to the Bureau of Prisons:


        (X) The defendant is remanded to the custody of the United States Marshal.



                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                              _____________________________
                                                                      Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                           CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                    SUPERVISED RELEASE


                 No term of supervised release is imposed.



                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                     Total Fine                 Total Restitution
              $100.00



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:



                                              FINE

        No fine imposed.

                                           RESTITUTION

        No restitution was ordered.
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Defendant: STEPHEN W. CHILDS                                                                                     Page 4 of 4
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                                         SCHEDULE OF PAYMENTS
The special assessment in the amount of $100.00 has been paid in full.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to pay said sum
immediately if he or she has the capacity to do so. The United States of America may institute civil collection
proceedings at any time to satisfy all or any portion of the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall participate in the
Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program, the defendant shall pay 50% of the
available inmate institutional funds per quarter towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments to satisfy the
criminal monetary penalty in the following manner: (a) monthly installments of $100 or 3% of the defendant’s gross
income, whichever is greater; (b) the first payment shall commence 60 days following the defendant’s discharge from
incarceration, and continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be responsible
for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order of priority:
special assessment; restitution; fine; and other penalties. Unless otherwise specifically ordered, all criminal monetary
penalty payments, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, shall be made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue on the
criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111 S. 18th Plaza, Suite
1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances affecting the ability
to make monthly installments, or increase the monthly payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary to liquidate and apply
the proceeds of such property as full or partial payment of the criminal monetary penalty.

CLERK’S OFFICE USE ONLY:
ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
